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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

MICHAEL BLACK,                             )
                                           )
                        Petitioner,        )
                                           )
     v.                                    )     No.   98 CR 434-9
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                        Respondent.        )

                             MEMORANDUM ORDER

     This Court has just received the most recent submission from

Michael Black (“Black”), who continues his pro se post-conviction

efforts to obtain relief from the 168-month sentence imposed by

this Court some eight years ago (on June 6, 1999).1              This time

Black captions his submission “Petitioner’s Writ of Audita

Querela,” hoping that his thus-labeled request will not run afoul

of the prohibition against successive motions under 28 U.S.C.

§2255.

     But in doing so, even though Black says he recognizes the

limitations on the issuance of such a writ (on that score he

cites our Court of Appeals’ affirmance of this Court’s denial of

the writ in United States v. Johnson, 962 F.2d 579 (7th Cir.

1992)), he impermissibly attempts to use that vehicle to urge the


     1
        See this Court’s memorandum orders of July 6, 2000
(followed by this Court’s August 17, 2001 statement as to why no
certificate of appealability should issue and our Court of
Appeals’ denial of a like request on December 27, 2001),
November 12, 2003, January 29, 2004, February 11, 2004 (affirmed
by our Court of Appeals on November 30, 2004), March 10, 2004,
May 13, 2004, August 16, 2005, March 27, 2007 and April 30, 2007.
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retroactivity of United States v. Booker, 543 U.S. 220 (2005) and

Crawford v. Washington, 541 U.S. 36 (2004) to invalidate his

conviction and sentence.       That approach cannot prevail, and

Black’s current petition is denied.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge
Date:   June 19, 2007




                                       2
